Case 11-76429-lrc        Doc 46    Filed 05/20/14 Entered 05/20/14 08:29:04           Desc Main
                                   Document      Page 1 of 5



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                          *   CASE NO. A11-76429-MHM
                                                *
KELLEY QUIANA SMITH,                            *
                                                *   CHAPTER 13
                                                *
                                                *
                                                *
                                                *
                   DEBTOR.

            NOTICE OF FILING OF MODIFICATION OF CONFIRMED PLAN,
                DEADLINE FOR FILING WRITTEN OBJECTIONS AND
             HEARING DATE AND TIME IF OBJECTION IS TIMELY FILED

          To: Creditors and Other Parties in Interest

        PLEASE TAKE NOTICE that Kelley Quiana Smith, filed a proposed modification to
the confirmed plan in this case, a copy of which modification you are receiving with the notice or
have recently received by mail. Pursuant to Rule 3015(g) of the Federal Rules of Bankruptcy
Procedure, any creditor or other party in interest opposing this proposed Modification must file
that objection in writing with the Court on or before the following deadline.

       DEADLINE FOR FILING OBJECTION: Twenty-four (24) days after the date on
which their proposed Modification was filed. The proposed modification was filed on
________________________.
        5/20/14                  If the twenty-third day after the date of service falls on a week-
end or holiday, the deadline is extended to the next business day.

      PLACE OF FILING: US Courthouse
                       Clerks Office Room 1340
                       75 Spring Street, SW
                       Atlanta, GA 30303



       If you mail an objection to the Court for filing, you must mail it early enough so the
Court will receive it on or before the date stated above.

       You must also serve a copy on the undersigned at the address stated below and on the
Debtor at: 2500 Meadow Grove Way, Lilburn, GA 30047.

        PLEASE TAKE FURTHER NOTICE that if an objection to the proposed Modification
is timely filed, the Court will hold a hearing on the modification in Court Room 1204 (12th
Floor) of the US Courthouse, 75 Spring Street, SW, Atlanta, GA 30303, at 10:00 AM, on June
19, 2014. If no objection is timely filed, the proposed Modification will be effective

/cl
Case 11-76429-lrc    Doc 46   Filed 05/20/14 Entered 05/20/14 08:29:04      Desc Main
                              Document      Page 2 of 5



pursuant to 11 U.S.C.§1329(b)(2) as part of the Confirmed Plan without further order or
notice.

                                                 Respectfully submitted,

                                                 By:    s/
Clark & Washington, LLC                          Richard H. Thomson
3300 Northeast Expressway                        Attorney for Debtor
Building 3                                       GA Bar No. 710264
Atlanta, GA 30341
Phone (404)522-2222
Fax (770)220-0685




/cl
Case 11-76429-lrc       Doc 46       Filed 05/20/14 Entered 05/20/14 08:29:04         Desc Main
                                     Document      Page 3 of 5



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN THE MATTER OF:                               *   CASE NO.: 11-76429-MHM
                                                *
KELLEY QUIANA SMITH,                            *
                                                *   CHAPTER: 13
                                                *
                                                *
                                                *   JUDGE: MARGARET H. MURPHY
                  DEBTOR.                       *

                   POST-CONFIRMATION MODIFICATION OF PLAN
                        AND REQUEST FOR ITS APPROVAL

       Kelley Quiana Smith Debtor, proposes to modify the confirmed plan of reorganization
as set forth below and requests that this modification be approved.


                                     MODIFICATION OF PLAN
       Kelley Quiana Smith Debtor, hereby modifies the Chapter 13 Plan which the Court
confirmed on 6/18/2012 as follows:



Debtor modifies the Chapter 13 Plan paragraph 2 – To retroactively change the following step
provision from “Plan payments will increase by $52.00 per month in August 2012…,” to “Plan payments
will increase by $52.00 per month in January, 2015, upon completion or termination of 401(K)
repayment,” effective August 2012.



       WHEREFORE Debtor prays:

       (a)     That this “Post-Confirmation Modification of Plan and Request for its Approval”
               be filed, read and considered;
       (b)     That this Honorable Court grant this Modification; and,
       (c)     That this Honorable Court grants such other and further relief as it may deem just
               and proper.




/cl
Case 11-76429-lrc    Doc 46   Filed 05/20/14 Entered 05/20/14 08:29:04   Desc Main
                              Document      Page 4 of 5



                                               Respectfully submitted,


                                               By:    s/
                                               Richard H. Thomson
                                               Attorney for Debtor
Clark & Washington, LLC                        GA Bar No. 710264
3300 Northeast Expressway
Building 3
Atlanta, GA 30341
Phone (404) 522-2222
Fax (770)220-0685




/cl
Case 11-76429-lrc        Doc 46     Filed 05/20/14 Entered 05/20/14 08:29:04           Desc Main
                                    Document      Page 5 of 5



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN THE MATTER OF:                                *   CASE NO.: 11-76429-MHM
                                                 *
KELLEY QUIANA SMITH,                             *
                                                 *   CHAPTER: 13
                                                 *
                                                 *
                                                 *   JUDGE: MARGARET H. MURPHY
                   DEBTOR.                       *

              UNSWORN DECLARATION UNDER PENALTY OF PERJURY

         I, Kelley Quiana Smith, hereby certify under penalty of perjury that the attached pleading
is true and correct to the best of my information and belief.


Date this 6th day of May, 2014


Signed      s/_______________________
            Kelley Quiana Smith




/cl
